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        In the United States Court of Federal Claims
                                 No. 24-469C
                            (Filed: June 20, 2024)

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CAPITAL TECHNOLOGY GROUP, LLC,

               Plaintiff,

v.

THE UNITED STATES,

               Defendant.

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                                  ORDER

       For good cause shown, defendant’s unopposed motion (ECF No. 31)
to correct the administrative record to replace one document with an
unredacted copy is granted. We deem the exhibit attached to the motion part
of the Administrative Record as pages 1624-1625.


                                          s/Eric G. Bruggink
                                          ERIC G. BRUGGINK
                                          Senior Judge
